    Case 20-05793-MM7                        Filed 03/03/21        Entered 03/05/21 21:12:13                Doc 19            Pg. 1 of 4

Information to identify the case:
Debtor 1
                       Mahin Mazaheri                                                Social Security number or ITIN   xxx−xx−1597
                                                                                     EIN _ _−_ _ _ _ _ _ _
                       First Name   Middle Name   Last Name

Debtor 2                                                                             Social Security number or ITIN _ _ _ _
                       First Name     Middle Name     Last Name
(Spouse, if filing)                                                                  EIN _ _−_ _ _ _ _ _ _

United States Bankruptcy Court       Southern District of California

Case number:          20−05793−MM7


Order of Discharge                                                                                                                    12/15


IT IS ORDERED: A discharge under 11 U.S.C. § 727 is granted to:

           Mahin Mazaheri
           aka Mahin Mazaheri Kalahroudi


           3/2/21                                                      By order of the court: Michael Williams
                                                                                              Clerk of the Bankruptcy Court


Explanation of Bankruptcy Discharge in a Chapter 7 Case

This order does not close or dismiss the case,                               This order does not prevent debtors from paying
and it does not determine how much money, if                                 any debt voluntarily or from paying reaffirmed
any, the trustee will pay creditors.                                         debts according to the reaffirmation agreement.
                                                                             11 U.S.C. § 524(c), (f).
Creditors cannot collect discharged debts
This order means that no one may make any                                    Most debts are discharged
attempt to collect a discharged debt from the                                Most debts are covered by the discharge, but not
debtors personally. For example, creditors                                   all. Generally, a discharge removes the debtors'
cannot sue, garnish wages, assert a deficiency,                              personal liability for debts owed before the
or otherwise try to collect from the debtors                                 debtors' bankruptcy case was filed.
personally on discharged debts. Creditors cannot
contact the debtors by mail, phone, or otherwise                             Also, if this case began under a different chapter
in any attempt to collect the debt personally.                               of the Bankruptcy Code and was later converted
Creditors who violate this order can be required                             to chapter 7, debts owed before the conversion
to pay debtors damages and attorney's fees.                                  are discharged.
However, a creditor with a lien may enforce a                                In a case involving community property: Special
claim against the debtors' property subject to that                          rules protect certain community property owned
lien unless the lien was avoided or eliminated.                              by the debtor's spouse, even if that spouse did
For example, a creditor may have the right to                                not file a bankruptcy case.
foreclose a home mortgage or repossess an
automobile.

                                                                                         For more information, see page 2 >




Official Form 318                                             Order of Discharge                                       page 1
  Case 20-05793-MM7            Filed 03/03/21      Entered 03/05/21 21:12:13      Doc 19     Pg. 2 of 4




Some debts are not discharged                             Also, debts covered by a valid reaffirmation
Examples of debts that are not discharged are:            agreement are not discharged.

     ♦ debts that are domestic support                    In addition, this discharge does not stop
       obligations;                                       creditors from collecting from anyone else who is
                                                          also liable on the debt, such as an insurance
                                                          company or a person who cosigned or
     ♦ debts for most student loans;                      guaranteed a loan.


     ♦ debts for most taxes;
                                                           This information is only a general summary
     ♦ debts that the bankruptcy court has                 of the bankruptcy discharge; some
       decided or will decide are not discharged           exceptions exist. Because the law is
       in this bankruptcy case;                            complicated, you should consult an
                                                           attorney to determine the exact effect of the
                                                           discharge in this case.
     ♦ debts for most fines, penalties,
       forfeitures, or criminal restitution
       obligations;

     ♦ some debts which the debtors did not
       properly list;


     ♦ debts for certain types of loans owed to
       pension, profit sharing, stock bonus, or
       retirement plans; and


     ♦ debts for death or personal injury caused
       by operating a vehicle while intoxicated.




Official Form 318                             Order of Discharge                           page 2
         Case 20-05793-MM7                      Filed 03/03/21              Entered 03/05/21 21:12:13                       Doc 19          Pg. 3 of 4

                                                              United States Bankruptcy Court
                                                              Southern District of California
In re:                                                                                                                 Case No. 20-05793-MM
Mahin Mazaheri                                                                                                         Chapter 7
       Debtor
                                                     CERTIFICATE OF NOTICE
District/off: 0974-3                                                  User: admin                                                                 Page 1 of 2
Date Rcvd: Mar 03, 2021                                               Form ID: 318                                                              Total Noticed: 16
The following symbols are used throughout this certificate:
Symbol          Definition
+                Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                 regulations require that automation-compatible mail display the correct ZIP.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Mar 05, 2021:
Recip ID                 Recipient Name and Address
db                     + Mahin Mazaheri, 1210 Pine Drive, El Cajon, CA 92020-7251
smg                    + Div. of Labor Standards Enforcement, 7575 Metropolitan Drive, Suite 210, San Diego, CA 92108-4424
smg                      Dun & Bradstreet, Attn: Lynne Roberts, 2nd Floor, 3501 Corporate Parkway, PO Box 520, Center Valley, PA 18034-0520
14822461                 Nissan Motor Acceptance Corp, P.O. Box 740849, Cincinnati, OH 45274-0849

TOTAL: 4

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI). Electronic transmission is in Eastern
Standard Time.
Recip ID                  Notice Type: Email Address                                    Date/Time                 Recipient Name and Address
tr                        EDI: FJLKENNEDY.COM
                                                                                        Mar 04 2021 03:58:00      James L. Kennedy, James L. Kennedy, Trustee,
                                                                                                                  P.O. Box 28459, San Diego, CA 92198-0459
smg                       EDI: CALTAXFEE
                                                                                        Mar 04 2021 03:58:00      California Department of Tax and Fee
                                                                                                                  Administratio, Account Information Group,
                                                                                                                  MIC:29, P.O. Box 942879, Sacramento, CA
                                                                                                                  94279-0029
smg                    + EDI: EDD.COM
                                                                                        Mar 04 2021 03:58:00      Employment Develop. Dept., State of CA,
                                                                                                                  Bankruptcy Unit - MIC 92E, P.O. Box 826880,
                                                                                                                  Sacramento, CA 94280-0001
smg                       EDI: CALTAX.COM
                                                                                        Mar 04 2021 03:58:00      Franchise Tax Board, Attn: Bankruptcy, P.O. Box
                                                                                                                  2952, Sacramento, CA 95812-2952
smg                    + Email/Text: ustp.region15@usdoj.gov
                                                                                        Mar 03 2021 23:44:00      United States Trustee, Office of the U.S. Trustee,
                                                                                                                  880 Front Street, Suite 3230, San Diego, CA
                                                                                                                  92101-8897
14822455                  EDI: CITICORP.COM
                                                                                        Mar 04 2021 03:58:00      Citi Bank/Citi Cards, PO Box 78045, Phoenix, AZ
                                                                                                                  85062-8045
14822454               + EDI: CAPITALONE.COM
                                                                                        Mar 04 2021 03:58:00      Capital One, P.O. Box 30253, 1680 Captial One
                                                                                                                  Drive, Salt Lake City, UT 84130-0253
14822456                  Email/PDF: creditonebknotifications@resurgent.com
                                                                                        Mar 04 2021 01:46:16      Credit One Bank, PO Box 60500, City of Industry,
                                                                                                                  CA 91716-0500
14822457                  EDI: DISCOVER.COM
                                                                                        Mar 04 2021 03:58:00      Discover Bank, P.O. Box 15316, Attn: CMS,
                                                                                                                  Wilmington, DE 19850
14822458               + Email/Text: lossmitigation@missionfed.com
                                                                                        Mar 03 2021 23:45:00      Mission Federal Credit Union, 5785 Oberlin DR
                                                                                                                  MS60, San Diego, CA 92121-3751
14822459               + EDI: NAVIENTFKASMSERV.COM
                                                                                        Mar 04 2021 03:58:00      Navient, P.O. Box 9500, Wilkes Barre, PA
                                                                                                                  18773-9500
14822460               + EDI: NFCU.COM
                                                                                        Mar 04 2021 03:58:00      Navy Federal, PO Box 3501, Merrifield, VA
                                                                                                                  22119-3501

TOTAL: 12
         Case 20-05793-MM7                   Filed 03/03/21             Entered 03/05/21 21:12:13                     Doc 19         Pg. 4 of 4

District/off: 0974-3                                              User: admin                                                             Page 2 of 2
Date Rcvd: Mar 03, 2021                                           Form ID: 318                                                          Total Noticed: 16

                                                    BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
NONE


                                                   NOTICE CERTIFICATION
I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: Mar 05, 2021                                         Signature:          /s/Joseph Speetjens




                                 CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on March 2, 2021 at the address(es) listed
below:
Name                             Email Address
James L. Kennedy
                                 jim@jlkennedy.com jlk@trustesolutions.net

United States Trustee
                                 ustp.region15@usdoj.gov

William P. Fennell
                                 on behalf of Debtor Mahin Mazaheri william.fennell@fennelllaw.com
                                 luralene.schultz@fennelllaw.com;office@fennelllaw.com;wpf@ecf.courtdrive.com;mblackburnjoniaux@fennelllaw.com;tiffany.z
                                 appelli@fennelllaw.com;samantha.larimer@fennelllaw.com;mblackburnjoniaux@yahoo.com


TOTAL: 3
